Case 1:17-cv-20608-JJO Document 165 Entered on FLSD Docket 06/10/2019 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


                              Case No. 17-20608-CIV-LENARD/GOODMAN


   ARWIN NICOLAS ZAPATA CARRERO,

         Plaintiff,

   vs.

   SANABI INVESTMENTS, LLC d/b/a
   OSCAR’S MOVING & STORAGE,
   SAADY BIJANI a/k/a SANDY BIJANI,
   and HANIN PRIETO,

       Defendants.
   ______________________________________/

                           DEFENDANT HANIN PRIETO’S WITNESS LIST

              Defendant Hanin Prieto (“Defendant”) respectfully submits this Witness List pursuant to

  this Court’s May 2, 2018 Order Adopting Joint Scheduling Report, Setting Pretrial Conference

  and Trial, Establishing Pretrial Deadlines, and Establishing Pretrial and Trial Procedures. See ECF

  No. 97.

         I.          WITNESSES DEFENDANT INTENDS TO CALL AT TRIAL:

                 a) Defendant Hanin Prieto
                    c/o Sherry Law Office PLLC
                    200 SE 1st St., Ste. 400
                    Miami, FL 33131

                 b) Plaintiff Arwin Nicolas Zapata Carrero
                    c/o J.H. Zidell, P.A.
                    300 71st St., Ste. 605
                    Miami Beach, FL 33141
Case 1:17-cv-20608-JJO Document 165 Entered on FLSD Docket 06/10/2019 Page 2 of 3




            c) Saady Bijani
               11421 NW 107th St., Ste. 13
               Miami, FL 33178

            d) Jonatan Ellie
               786-817-5816
               Address Unknown

            e) Sandy Vargas
               305-450-2764
               Address Unknown

      II.      WITNESSES DEFENDANT MAY CALL AT TRIAL:

            a) Susana Bijani
               11255 NW 77th Terrace
               Miami, FL 33178

            b) Huber Polanco
               8701 SW 141st St., Apt. F6
               Palmetto Bay, FL 33176

            c) Jose Huntado
               10805 SW 4th St.
               Miami, FL 33174

            d) Plutarco Ricardo Zapata
               141 SW 113th Avenue, Apt. 103
               Miami, FL 33174

            e) Luis de Castro
               2655 West 8th Court
               Hialeah, FL 33010

                                                   Respectfully submitted,

                                                   By: /s/ Jason B. Sherry
                                                   Jason B. Sherry, Esq.
                                                   Florida Bar No. 102218
                                                   SHERRY LAW OFFICE, PLLC
                                                   200 SE 1st Street, Suite 400
                                                   Miami, Florida 33131
                                                   Tel: 305-792-4265
                                                   jason@sherrylawoffice.com


                                               2
Case 1:17-cv-20608-JJO Document 165 Entered on FLSD Docket 06/10/2019 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I certify that the foregoing document has been served by the CM/ECF service on all counsel

  of record this 10th day of June 2019.



                                                      By: /s/ Jason B. Sherry
                                                          Jason B. Sherry, Esq.




                                                 3
